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 Attorneys for Defendant The Economist Newspaper NA, Inc.

                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 JOSE URRUTIA, individually and on behalf
 of all others similarly situated,                 NOTICE OF SUPPLEMENTAL
                                                   AUTHORITIES
        Plaintiff,
 v.
                                                   Case No. 2:23-cv-00878
 THE ECONOMIST NEWSPAPER NA, INC.
                                                   The Honorable Howard C. Nielson, Jr.
        Defendant.


        Pursuant to DUCivR 7-1(c)(2), The Economist Newspaper NA, Inc. (“TEN” or

 “Defendant”) submits this Notice of Supplemental Authorities to alert the Court to the Opinions

 and Orders issued on March 13, 2025 by Judge Tena Campbell in Atwood, et al. v. Dotdash

 Meredith Inc., No. 24-cv-00046 (D. Utah Mar. 13, 2025) and on March 27, 2025 by Judge Ann

 Marie McIff Allen in Teresa v. Mayo Foundation for Medical Education and Research, No. 24-

 cv-00033 (D. Utah Mar. 27, 2025). These decisions are attached hereto as Exhibit A and Exhibit

 B respectively.
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         In Atwood, Judge Campbell dismissed a putative class action brought under Utah’s Notice

 of Intent to Sell Nonpublic Personal Information Act, Utah Code Ann. § 13-37-101, et seq.

 (“NISNPIA”). The Court held that the complaint’s allegations failed to allege that defendant

 Dotdash Meredith Inc. (“Dotdash”) was a commercial entity under the NISNPIA. Judge Campbell

 noted that to be bound by the NISNPIA “commercial entities must have their own physical office

 located in the state” and merely having a registered agent or employee in Utah was insufficient.

 Atwood, No. 24-cv-0004 at 7-8 (citing Camoras v. Publishers Clearing House, LLC, No. 4:23-cv-

 118-DN-PK, 2024 WL 2262786, at * 2 (May 17, 2024 D. Utah)). Indeed, Judge Campbell

 observed that “[h]ad the legislature intended to apply the NISNPIA to all corporations which have

 registered agents in Utah, or companies with employees working outside their employer’s office

 in Utah, then it would have specified that broadened coverage.” Id. at 9. Judge Campbell rejected

 plaintiff’s expansive statutory reading, noting that it would result in “every business conducting

 any business transactions in the state would be a de facto Utah ‘commercial entity’ under § 13-37-

 102(2)(a)(ii) because that company would have either its own physical location or a registered

 agent with an office in Utah.” Id. at 10.

         Judge Campbell also relied on the NISNPIA’s legislative history, “which shows that the

 legislature intended that companies with their principal place of business and place of

 incorporation outside of Utah, like Dotdash Media, would not be governed by the NISNPIA.” Id.

 at 11. Reinforcing an argument in Defendant TEN’s papers Judge Campbell noted that the

 NISNPIA sponsor’s use of the term “domicile” while discussing the statute’s application clarified

 “that the Act would apply only to “companies domiciled in Utah” and “that the Act governed Utah

 corporate ‘citizens.’” Id. at 12.




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        Similarly, in Teresa, Judge Allen dismissed a putative class action for lack of subject matter

 jurisdiction, finding that the plaintiff had failed to allege facts that would demonstrate that

 defendant Mayo Foundation is a “commercial entity” under the NISNPIA. 1 In Teresa, plaintiff

 alleged that the Mayo Foundation was a Minnesota corporation with its headquarters and principal

 place of business in Rochester, Minnesota, but had a registered agent and employees in Utah. Judge

 Allen held that the “presence of Defendant’s registered agent, and remote employees, does not

 establish Defendant ‘has an office or other place of business located in [Utah],’” Teresa, No. 24-

 cv-00033, at 6, and dismissed the case.

        The decisions in Atwood and Teresa hold that to satisfy the NISNPIA’s commercial entity

 requirement Plaintiff must plausibly allege the existence of a corporation’s physical office in Utah

 and domicile here. Plaintiff’s allegations—which acknowledge that TEN is a Delaware

 corporation with its principal place of business in New York, Compl. ¶ 18—fall short. Indeed,

 Plaintiff’s allegations are on even thinner ground. As explained in TEN’s Motion to Dismiss,

 Plaintiff’s effort to shoehorn TEN into the NISNPIA by invoking a purported Economist-branded

 airport kiosk fails. TEN has never owned or operated a kiosk, business or maintained an office in

 Utah, including at the Salt Lake City airport. Moreover, this purported kiosk has been closed since

 December 2020. See Arnot Decl. ¶¶ 9, 10; id. Exs. A & B. The purported existence of a kiosk

 (operated by an unidentified party) that, at some undisclosed point, might have advertised that it

 offers The Economist, does not—as these recent decisions support—make TEN at home in Utah.

        Plaintiff’s failure to plead facts to establish that TEN a “commercial entity” under the

 NISNPIA warrants dismissal.



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   Judge Allen separately found that the Teresa complaint failed to plausibly plead that the amount
 in controversy exceeded $5,000,000 as required under the Class Action Fairness Act, 28 U.S.C.A.
 § 1332(d)(2).


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       Dated: April 3, 2024         Respectfully submitted,


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